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                          CONTAINS HIGHLY CONFIDENTIAL INFORMATION
                                SUBJECT TO PROTECTIVE ORDER
                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OKLAHOMA



 1) VIDEO GAMING TECHNOLOGIES, INC.,                         )
                                                             )
                                                             )
                   Plaintiff,                                )
                                                             )
 v.                                                          )   Case No. 4:17-cv-00454-GKF-jfj
                                                             )
 1) CASTLE HILL STUDIOS LLC                                  )
    (d/b/a CASTLE HILL GAMING);                              )
 2) CASTLE HILL HOLDING LLC                                  )
    (d/b/a CASTLE HILL GAMING); and                          )
 3) IRONWORKS DEVELOPMENT, LLC                               )
    (d/b/a CASTLE HILL GAMING)                               )
                                                             )
                   Defendants.                               )


       DECLARATION OF GARY M. RUBMAN IN SUPPORT OF PLAINTIFF’S MOTION
             AND BRIEF IN SUPPORT TO EXCLUDE THE TESTIMONY OF
                      W. TODD SCHOETTELKOTTE IN PART

                     1.         I am an attorney with the law firm of Covington & Burling LLP, counsel

      for Plaintiff Video Gaming Technologies, Inc. (“VGT”). I was admitted pro hac vice in this case

      on August 9, 2017.

                     2.         Attached as Exhibit A is a true and correct copy of the Rebuttal Expert

      Report of W. Todd Schoettelkotte Relating to Damages. Due to the length of Schedule 10C, we

      have included only the first page of that schedule. The report itself and the remaining schedules

      have been included in their entirety.

                     3.         Attached as Exhibit B is a true and correct copy of excerpts from the

      transcript of the deposition of Todd Schoettelkotte, taken on September 22, 2018.
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                  4.       Attached as Exhibit C is a true and correct copy of excerpts from VGT’s

   First Set of Requests for Production of Documents and Things to Castle Hill Gaming, dated

   September 25, 2017.

                  5.        Attached as Exhibit D is a true and correct copy of excerpts from

   Defendants’ Responses to VGT’s First Set of Requests for Production of Documents and Things

   to Castle Hill Gaming, dated November 22, 2017.

                  6.       Attached as Exhibit E is a true and correct copy of excerpts from

   Defendants’ Amended Objections and Responses to VGT’s First Set of Requests for Production

   of Documents and Things to Castle Hill Gaming, dated January 29, 2018.

                  7.       Attached as Exhibit F is a true and correct copy of an email chain

   between counsel for VGT and CHG, with the most recent email dated June 13, 2018.

                  8.       Attached as Exhibit G is a true and correct copy of VGT’s Sixth Set of

   Interrogatories to Defendants, dated May 25, 2018.

                  9.       Attached as Exhibit H is a true and correct copy of Defendants’ Response

   to VGT’s Sixth Set of Interrogatories to Defendants, dated June 25, 2018.

                  10.      Attached as Exhibit I is a true and correct copy of an email chain between

   counsel for VGT and CHG, with the most recent email dated July 9, 2018. To assist the Court,

   we have highlighted portions of the email chain that are most relevant to the present motion.

                  11.      Attached as Exhibit J is a true and correct copy of an email chain between

   counsel for VGT and CHG, with the most recent email dated August 2, 2018.

                  12.      Attached as Exhibit K is a true and correct copy of Schedule 11A from

   the Rebuttal Expert Report of W. Todd Schoettelkotte Relating to Damages.




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                  13.    Attached as Exhibit L is a true and correct copy of an email chain

   between counsel for VGT and CHG, with the most recent email dated October 1, 2018.

                  14.    Attached as Exhibit M is a true and correct copy of an email from Bob

   Gill, counsel for CHG, to Gary Rubman, counsel for VGT, dated October 2, 2018.

                  15.    Attached as Exhibit N is a true and correct copy of a document titled

   “VGT Severance and Release Agreement,” which is signed by Alan Roireau and November 6,

   2011.

                  16.    Attached as Exhibit O is a true and correct copy of excerpts from the

   transcript of the deposition of Alan Roireau, taken on May 15, 2018.

                  17.    Attached as Exhibit P is a true and correct copy of excerpts from the

   transcript of the deposition of Paul Suggs, taken on June 8, 2018.

                  18.    Attached as Exhibit Q is a true and correct copy of excerpts from the

   transcript of the deposition of Jason Sprinkle, taken on May 18, 2018.

                  19.    Attached as Exhibit R is a true and correct copy of excerpts from the

   transcript of the deposition of Brandon Booker, taken on July 10, 2018.

                  20.    Attached as Exhibit S is a true and correct copy of an email chain between

   counsel for VGT and CHG, with the most recent email dated September 11, 2018.

                  21.    Attached as Exhibit T is a true and correct copy of excerpts from the 2015

   Aristocrat Leisure Limited Annual Report.

                  22.    Attached as Exhibit U is a true and correct copy of an email chain

   between Jason Sprinkle and Rich Sisson, dated February 19, 2015 and containing Bates number

   CHG0033528.




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                  23.    Attached as Exhibit V is a true and correct copy of an email chain

   between Jason Sprinkle and other Castle Hill Gaming employees, dated February 6, 2015 and

   containing Bates number CHG0008379.

                  24.    Attached as Exhibit W is a true and correct copy of an email chain

   between Jason Sprinkle and Zach Trover, dated February 23, 2015 and containing Bates numbers

   CHG0041144-5.

                  25.    Attached as Exhibit X is a true and correct copy of an email from Jason

   Sprinkle to Rich Sisson, dated January 30, 2015 and an attached presentation titled “2015

   Product Strategy.” The exhibit contains Bates numbers CHG0090195-218.

                  26.    Attached as Exhibit Y is a true and correct copy of excerpts from the

   transcript of the deposition of Jon Yarbrough, taken on July 11, 2018.

                  27.    I declare under penalty of perjury that the foregoing is true and correct.



   Executed on October 12, 2018 in Washington, D.C.




                                                        ______________________________
                                                               Gary M. Rubman




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                                    CERTIFICATE OF SERVICE

          I hereby certify that on October 12, 2018, I caused an unredacted copy of the foregoing

   Declaration of Gary M. Rubman in Support of Plaintiff’s Motion to Exclude the Testimony of

   W. Todd Schoettelkotte in Part to be served on the following counsel for Defendants, who have

   consented to email service, via email:

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   Attorneys for Defendants
                                                                             /s/ Gary M. Rubman

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